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IN THE UNITED STATES DISTRICT COURT

 

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EASTERN DIVIsIoN /" 9 4
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UNITED sTArEs 0F AMERicA, w/BC/:Q,~
{I.i!. `

Plainsrr,
vs, Cr. No. 05-10013-T
KErrH LEE M¢mTYR.E,

Defendzmt.

 

MOTION FOR BRIEF CONTINUANCE OF SENT NCING DATE

 

Comes now Stephen B. Shankman, Attorney for Kei Mclntyre, who respectfully moves
the Court for a brief resetting of the sentencing date in ` cause for a period of a week to ten days.
In support thereof`, Counsel would advise the Co that Mr. Melntyre was advised this morning,
April 25, 2005, that his step- father in Georgia ll be undergoing major surgery tomorrow afternoon
and his presence is needed in regard to t matter. Counsel respectfully Would move the Court to
grant a brief continuance i.n this ca e. Counsel has consulted with Assistant United States Attomey
Vic lvy, Who advises that he no objection to the resetting.

Respeetfully submitted,

QM*\-\M

stephen B. shankman ""“‘-)
Federal Defender

200 J`efferson Avenue, Sui te 200
Memphis, TN 38103

(901) 544-3895

 

ANTED
MorloN errr W§.

DATE: ¢Q_.f@¢*JL-_-
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with Hu|e&$andlor az(b) FBCrPon a James D. Todd

U.S. District Judge \Q\

 

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CERTIFICA l E OF SERVICE

l, Stephen B. Shankman, certify that I have this date mailed a tree copy of the foregoing
Motion for Brief Continuance of Sentencing Date to, Mr. Vie fvy, Assistant U. S. Attorney, 109 S.
Highland Avenue, 3“* floor, Jackson, TN 38301.

\-l‘\-`
THIS the §L_Bf April, 2005.

Q®t

Stephcn B. Shanlcman
F ederal Defender

DISTRIC COURT - WESERNT D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case l:05-CR-10013 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

Stephen B. Shankman

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Victor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

